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                                                              June 2, 2023

Special Master the Honorable Thomas Vanaskie
Stevens & Lee
1500 Market Street, East Tower, 18th Floor
Philadelphia, PA 19103

      RE:     In re: Valsartan, Losartan, and Irbesartan Products Liability Litigation
              United States District Court for the District of New Jersey, Case No. : 1:19-md-2875

Dear Special Master Vanaskie:

         On behalf of Defendants Albertson’s LLC, CVS Pharmacy, Inc., Express Scripts, Inc.,
Humana Pharmacy, Inc., Kroger Co., OptumRX, Optum, Inc., Rite Aid Corp., Walgreen Co., and
Walmart Inc.) (collectively, the “Retail Pharmacy Defendants”), please find enclosed a proposed
order regarding a briefing schedule for the parties to address any outstanding issues associated with
the form of the Retail Pharmacy Defendants’ production of the CMO 32 items (TPP payments, costs,
profits, and custodial discovery).

       The parties have met and conferred numerous times regarding CMO 32 and appear close to
reaching an agreement on a number of issues regarding form of the Retail Pharmacy Defendants’
production of the CMO 32 items, but in the event that there remains a discrete issue of interpreting
CMO 32 that the parties disagree upon, the parties jointly request that the Court enter the following
scheduling for submission of briefing, which mirrors the schedule adopted by the Court for the
discovery from the Wholesalers:

         June 13, 2023 – Retail Pharmacy Defendants shall file their initial letter brief regarding their proposed
         interpretation of CMO 32;

         June 27, 2023 – Plaintiffs shall file their response/opposition to the Retail Pharmacy Defendants’ initial letter
         brief;

         June 30, 2023 - Retail Pharmacy Defendants may file a letter reply brief, not to exceed two pages; and

         July 6, 2023 – The Special Master will hold oral argument via Zoom on the parties’ disputes at 11:00 a.m.

      Plaintiffs’ counsel has reviewed this letter and the proposed order and consents to this
submission.

         Thank you once again for your consideration of these issues.

                                                     Respectfully submitted,


                                                     Kara Kapke
